IT IS HEREBY ADJUDGED and DECREED that the
below described is SO ORDERED.


Dated: April 01, 2019.

                                                       __________________________________
                                                              H. CHRISTOPHER MOTT
                                                       UNITED STATES BANKRUPTCY JUDGE
________________________________________________________________



                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                EL PASO DIVISION

IN RE:

GUILLERMO PALLARES                                   CASE NO.: 18-30888-hcm
aka GUILLERMO VENEGAS-PALLARES                       CHAPTER: 7
aka GUILLERMO V. PALLARES
CARMEN C. PALLARES
aka CARMEN CASTRUITA PALLARES

      DEBTOR(S).
______________________________________/

     AGREED ORDER TERMINATING STAY EFFECTIVE SEPTEMBER 13, 2019

       The Court finds that Bank of America, N.A. (hereinafter referred to as “Movant”), a

secured creditor in this matter, has filed a Motion for Relief from Stay of Action Against Debtor(s)

[DE#23] (the “Motion”) concerning the collateral described as 8524 Wingo Way, El Paso, Texas

79907 a/k/a 8520 Wingo Way A, El Paso, Texas 79907 (the “Property”), and more particularly

described in Exhibit A attached hereto and in the Deed of Trust securing Movant’s lien to the

Property; that all required notices of the Motion have been properly served; and that the parties
have agreed to modification of the 11 USC §362(s) stay with respect to the Property. Movant is

the holder of the certain Note and Deed of Trust concerning the Property. Default has occurred in

the performance of certain obligations of Debtors to Movant.

        IT IS TH ERE FO RE ORDERED that the Chapter 7 Trustee shall have six (6) months,

or until September 13, 2019, to market and sell the Property.

        IT IS FURTHE R ORDERED that the Chapter 7 Trustee shall be required to request a

payoff from Movant (dated through the date of closing) and that the sale shall not close if the

proceeds will not be enough to pay off the lien owed to Movant. This loan is a Daily Simple Interest

Loan and accrues daily interest. In the event of a default, additional interest may accrue over and

above the payment amount from the date of the last payment to the date of the next payment. In

such cases payments are applied to cover interest first and no principal is being applied until all

interest is satisfied.

        IT IS FURTHE R O RDERED that if the Chapter 7 Trustee is unable to close on the sale

of the Property by September 13, 2019, the 11 U.S.C. §362(a) stay as to Movant, its successors

and/or assigns, shall TERMINATE, and Movant, its successors and/or assigns, shall be permitted

to exercise any rights granted to it by the parties’ contract documents with respect to the Property

including, but not limited to, the execution of a non-judicial foreclosure sale of the Property.

        IT IS FURTHE R ORDERED that the provisions of the Bankruptcy Rule 4001(3) are

waived and the Order shall be in full force and effect upon signature of this Court.



                                        ###END OF ORDER###
AGREED TO AND APPROVED BY:

_/s/ Ronald E Ingalls, Trustee__________   /s/ Megan F. Clontz

Ronald E Ingalls / TBN 10391900            Megan F. Clontz
PO Box 2867                                State Bar No. 24069703
Fredericksburg, TX 78624-1927              2201 W. Royal Ln., Ste. 155
Chapter 7 Trustee                          Irving, TX 75063
                                           (469) 804-8457
                                           (469) 804-8462 (fax)
                                           Attorney for Bank of America, N.A.
EXHIBIT A
